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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA
                             NORFOLK DIVISION
____________________________________
                                     )
ZANE TYRONE GRAY, III                )
                                     )
                  Plaintiff,         )
                                     )
v.                                   ) CIVIL ACTION NO.: 2:17cv282
                                     )
SMITHFIELD FARMLAND CORP.            )
                                     )
                  Defendant.         )
____________________________________)

                          DEFENDANT’S NOTICE OF REMOVAL

       Defendant Smithfield Farmland Corp. (“Smithfield” or the “Company”), by counsel,

pursuant to 28 U.S.C. § 1441 et seq., removes this civil action, originally filed in the Circuit

Court for the City of Norfolk, to this Court and states as follows:

       1.      On May 4, 2017, Zane Tyrone Gray, III (“Plaintiff”) filed a Complaint in the

Circuit Court for the City of Norfolk (Case No. CL17005239-00). Defendant was served with a

copy of the Complaint and Summons on May 11, 2017. A copy of the Complaint and Summons

is attached hereto as Exhibit A.

       2.      Plaintiff alleges that he was wrongfully terminated in violation of the Family and

Medical Leave Act (“FMLA”), 29 U.S.C.§ 2601 et seq.

       3.      The United States District Court for the Eastern District of Virginia has federal

question jurisdiction over Plaintiff’s FMLA claim pursuant to 28 U.S.C. § 1331, which provides

this Court with original jurisdiction over all civil actions arising under Federal law.
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       4.      Venue is proper in the United States District Court for the Eastern District of

Virginia pursuant to 28 U.S.C. § 1441(a), as this Court embraces Norfolk, Virginia the place

where the action was originally filed.

       7.      Defendant will promptly provide written notice of the filing of this Notice to the

Clerk of the Circuit Court for the City of Norfolk and Plaintiff’s counsel, as required by 28

U.S.C. § 1446(d). A copy of that notice is attached hereto as Exhibit B.

       WHEREFORE, Defendant, by counsel, and pursuant to 28 U.S.C. § 1441 et. seq.,

removes this civil action, originally filed in the Circuit Court for the City of Norfolk (Case No.

CL17005239-00) to this Court and respectfully asks this action proceed in this Court.




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     Respectfully submitted this 26th day of May, 2017.



     SMITHFIELD FARMLAND CORP.

                                                By: /s/ Elena Marsteller_________

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                                 CERTIFICATE OF SERVICE

       I certify that on May 26, 2017, I electronically filed the foregoing document using the

Court’s CM/ECF system, which will send a notice of electronic filing to all counsel of record,

including Plaintiff’s Counsel below. I will also serve Plaintiff’s Counsel by first class mail.

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                                              By:     /s/ Elena Marsteller




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